In his motion for rehearing appellant insists that reversible error was committed by the trial court in admitting proof of acts and declarations of parties not connected with the homicide. With this question before us we have carefully reexamined all the facts together with the bills of exception and we must confess our inability to discover sound basis for the complaint. It arises particularly with reference to the testimony of a witness by the name of Chappel, a thirteen-year-old negro boy, and the part of his testimony particularly complained of is set out in our original opinion. His detail of the matters immediately preceding the killing may not be very clear but it does not offend against the rule invoked by appellant to the extent of requiring a reversal. Appellant's brother and one Willie Jefferson had had some previous trouble the details of which were not gone into upon the trial of this case. Chappel's version of the things leading up to the homicide was that appellant's father was seeking some one to carry a message to Willie Jefferson that he had better leave before daylight and appellant suggested that deceased would carry the message and when deceased demurred to this he and appellant became involved in a controversy which resulted in the death of deceased. At least this was Chappel's version of the matter.
Not being able to discover merit in appellant's renewed contention the motion for rehearing is overruled.
Overruled.